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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


FRANDO J. WEBB,

               Plaintiff,

vs.
                                                      CIVIL ACTION NO.: 2:17-cv-30
PORTFOLIO RECOVERY ASSOCIATES,
LLC

               Defendant.


                                  NOTICE OF APPEARANCE

        Please enter the appearance of Marissa I. Delinks on behalf of the Defendant, Portfolio

Recovery Associates, LLC, relative to the above-referenced matter.

                                         Respectfully submitted,
                                         Portfolio Recovery Associates, LLC

                                         By Its Attorney,

                                            /s/ Marissa I. Delinks
                                         Marissa I. Delinks, CT #29369
                                         mdelinks@hinshawlaw.com
                                         HINSHAW & CULBERTSON LLP
                                         28 State Street, 24th Floor
                                         Boston, MA 02109-1775
Date:    January 6, 2017                 617-213-7000


                                 CERTIFICATE OF SERVICE

        I, Marissa I. Delinks, hereby certify that the documents filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF). A copy of this document will also be sent by first class mail as follows:

Frando Webb
23 Ward Place
Hartford, CT 06106

                                                      /s/ Marissa I. Delinks_______________
                                                      Marissa I. Delinks


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